              Case 2:19-cr-00159-RSL Document 389 Filed 10/07/22 Page 1 of 2




 1                                                    THE HONORABLE ROBERT S. LASNIK
 2
 3
                              UNITED STATES DISTRICT COURT
 4
                             WESTERN DISTRICT OF WASHINGTON
 5                                     AT SEATTLE

 6   UNITED STATES OF AMERICA,                        ) No. CR19-159-RSL
                                                      )
 7                   Plaintiff,                       )
                                                      )
 8              v.                                    ) MS. THOMPSON’S NOTICE OF
                                                      ) CRIMINAL APPEAL
 9   PAIGE THOMPSON,                                  )
                                                      )
10                   Defendant.                       )
                                                      )
11
             NOTICE IS GIVEN that Paige Thompson, defendant in the above-named case,
12
     hereby appeals to the United States Court of Appeals for the Ninth Circuit from; the
13
     Order Denying Judgement of Acquittal on June 15, 2022 (raised after the government
14
     rested and renewed after the defense rested); her judgment in a criminal case entered on
15
     October 4, 2022; and the Order Denying Motion for a New Trial entered on October 5,
16
     2022.
17
             DATED this 7th day of October, 2022.
18
                                                    Respectfully submitted,
19
20                                                  s/ Mohammad Hamoudi
21                                                  s/ Nancy Tenney
                                                    Assistant Federal Public Defenders
22                                                  Attorneys for Paige Thompson
                                                    1601 Fifth Avenue, Suite 700
23                                                  Seattle, Washington 98101
24                                                  Phone: (206) 553-1100
                                                    Fax: (206) 553-0120
25                                                  mo_hamoudi@fd.org
                                                    nancy_tenney@fd.org
26

                                                                    FEDERAL PUBLIC DEFENDER
       MS. THOMPSON’S NOTICE                                           1601 Fifth Avenue, Suite 700
       OF CRIMINAL APPEAL                                                Seattle, Washington 98101
       (U.S. v. Paige Thompson, CR19-159-RSL) - 1                                   (206) 553-1100
              Case 2:19-cr-00159-RSL Document 389 Filed 10/07/22 Page 2 of 2




     Name of court reporter: Debbie Zurn
 1
     Transcript required: Yes
 2   Date transcript ordered or to be ordered: October 7, 2022

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                                                                 FEDERAL PUBLIC DEFENDER
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       (U.S. v. Paige Thompson, CR19-159-RSL) - 2                                (206) 553-1100
